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              IN THE COUNTY COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
             OF THE STATE OF FLORIDA, IN AND FORHILLSBOROUGH COUNTY
                                              CIVIL DIVISION

BOUTIQUE APARTMENTS LLC;
BRoom,YN FLATS; BLAKE WARNER,
 Plaintiff/Petitioner                                       CASE NO. 18-CC022377
                                                            Division M
 VS

BOUTIQUE APARTMENTS LLC; BLAKE WARNER; JESSIE DARKES
 Defendant/Respondent



                                         ORDER OF DISMISSAL

         This action was heard on the court's motion to dismiss for lack of prosecution served on
March 30. 2020.

         The court finds that (1) notice prescribed by mle 1.420(e) was sen/ed on March 30, 2020,
 (2) t here was no rec ord ac t ivit y   during the 10 months immediately preceding service of t he
 foregoing notice, (3) there was no record activity during the 60 days immediately following
 service of the foregoing notice, (4) no stay has been issued or approved by the court, and (5) no
party has shown good cause why this actions should remain pending. Accordingly,

         IT IS ORDERED that this action is dismissed for lack of prosecution.

         ORDERED at Tampa, Hillsborough County, Florida on.




                                                          County Judge Miriam v. Valkenburl     .\




                                            EXHIBIT G
                    Filed Hillsborough CountyC1exk of the Circuit Count County Civil Division
